                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                                 DOCKET NO. 3:02CR156-LHT


UNITED STATES OF AMERICA                         )
                                                 )
                                                 )
               v.                                )
                                                 )         FINAL ORDER AND JUDGMENT
                                                 )           CONFIRMING FORFEITURE
JAMES EDWARD MCLEAN                              )




       THIS MATTER is before the Court on the Government’s motion for a final order and

judgment confirming forfeiture, filed December 15, 2008.

       On January 28, 2003, this Court entered a Supplemental Order of Forfeiture pursuant to

18 U.S.C. § 982, 21 U.S.C. § 853(n) and 28 U.S.C. § 2461(c), based upon the Defendant’s

conviction at trial on Counts One and Sixty-four through Sixty-six in the Superseding Bill of

Indictment.

       On October 15, 2008, the United States published, via www.forfeiture.gov, notice of this

forfeiture and of the intent of the Government to dispose of the forfeited property according to

law, and further notice to all third parties of their right to petition the Court within sixty days

from October 15, 2008, for a hearing to adjudicate the validity of any alleged legal interest in the

property. It appears from the record that no such petitions have been filed. Based on the record

in this case, including the Defendant’s conviction, the Court finds, in accordance with Rule

32.2(c)(2), that the Defendant had an interest in the property that is forfeitable under the

applicable statute.




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       IT IS, THEREFORE, ORDERED that, in accordance with Rule 32.2(c)(2), the

Supplemental Order of Forfeiture is hereby confirmed as final.

       IT IS FURTHER ORDERED that all right, title, and interest in the following property,

whether real, personal, or mixed, has therefore been forfeited to the United States for disposition

according to law:

       One purchase money note and a related deed of trust in the amount of
       $130,120.00, dated November 11, 2002, payable to and executed in favor of
       NMAC Corp., representing a debt secured by property located at 301-309
       Neal Drive, Charlotte, North Carolina.

                                                 Signed: December 18, 2008




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